   Case 2:18-cv-13377-MF Document 53 Filed 06/08/21 Page 1 of 10 PageID: 671




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                                      Civil Action No. 2:18-cv-13377-CCC-MF
JODI CRANDELL, JUAN ONTIVEROS, and
JIM KETTLEKAMP on behalf of themselves
and all others similarly situated,

                       Plaintiffs,                      ORDER GRANTING
                                                        PRELIMINARY APPROVAL OF
       vs.                                              CLASS ACTION SETTLEMENT
VOLKSWAGEN GROUP OF AMERICA,
INC. and VOLKSWAGEN
AKTIENGESELLSCHAFT,
                       Defendants.


        WHEREAS, pursuant to Fed. R. Civ. P. (“Rule”) 23(a), 23(b)(3), and 23(e) of the Federal

 Rules of Civil Procedure, the parties seek entry of an order preliminarily approving the

 Settlement of this Action pursuant to the settlement agreement fully executed on or about May

 24, 2021 (the “Settlement Agreement”), which, together with its attached exhibits, sets forth the

 terms and conditions for a proposed Settlement of the Action and dismissal of the Action with

 prejudice; and

        WHEREAS, the Court has read and considered the Settlement Agreement and its

 exhibits, and Plaintiffs’ Unopposed Motion for Preliminary Approval;

        NOW, THEREFORE, IT IS ORDERED THAT:

        1.        This Order incorporates by reference the definitions in the Settlement Agreement,

 and all terms used in this Order shall have the same meanings as set forth in the Settlement

 Agreement.

        2.        The Court preliminarily approves the Settlement Agreement, and its Settlement

 terms, as fair, reasonable and adequate under Rule 23, subject to further consideration at the

 Final Approval Hearing described below.




                                                  1
  Case 2:18-cv-13377-MF Document 53 Filed 06/08/21 Page 2 of 10 PageID: 672




       3.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court

preliminarily certifies, solely for purposes of effectuating the Settlement Agreement, the

following Settlement Class:

       All persons and entities who purchased or leased in the United States or Puerto

       Rico any model year 2015, 2016 or 2017 Volkswagen Touareg vehicle that was

       imported and distributed by Volkswagen Group of America, Inc. for sale or lease

       in the United States or Puerto Rico (hereinafter “Settlement Class”).

       Excluded from the Settlement Class are: (a) all Judges who have presided over the Action

and their spouses; (b) all current employees, officers, directors, agents and representatives of

Defendants, and their family members; (c) any affiliate, parent or subsidiary of Defendants and

any entity in which Defendants has a controlling interest; (d) anyone acting as a used car dealer;

(e) anyone who purchased a Settlement Class Vehicle for the purpose of commercial resale; (f)

anyone who purchased a Settlement Class Vehicle with salvaged title and/or any insurance

company who acquired a Settlement Class Vehicle as a result of a total loss; (g) any insurer of a

Settlement Class Vehicle; (i) issuers of extended vehicle warranties and service contracts; (i) any

Settlement Class Member who, prior to the date of the Settlement Agreement, settled with and

released Defendants or any Released Parties from any Released Claims; and (j) any Settlement

Class Member who files a timely and proper Request for Exclusion from the Settlement Class.

       4.      The Court preliminarily appoints Bursor & Fisher, P.A. as Class Counsel for the

Settlement Class.

       5.      The Court preliminarily appoints Jodi Crandell, Juan Ontiveros, Jim Kettelkamp,

Abraham Litchfield and Jose Suarez as Settlement Class Representatives.

       6.      The Court preliminarily finds, solely for purposes of the Settlement, that the Rule

23 criteria for certification of the Settlement Class exists in that: (a) the Settlement Class is so

numerous that joinder of all Settlement Class Members in the Action is impracticable; (b) there

are questions of law and fact common to the Settlement Class that predominate over any

individual questions; (c) the claims of the Settlement Class Representatives are typical of the

                                                   2
  Case 2:18-cv-13377-MF Document 53 Filed 06/08/21 Page 3 of 10 PageID: 673




claims of the Settlement Class; (d) the Settlement Class Representatives and Settlement Class

Counsel have and will continue to fairly and adequately represent and protect the interests of the

Settlement Class; and (e) a class action is superior to all other available methods for the fair and

efficient adjudication of the controversy.

       7.      In addition, the Court finds that preliminary certification of the Settlement Class

is appropriate when balanced against the risks and delays of further litigation. It appears that

sufficient investigation, research, and discovery have been conducted such that the attorneys for

the parties are reasonably able to evaluate the benefits of Settlement, which will avoid substantial

additional costs to the parties and reduce delay and risks associated with this action.

       8.      The Court also preliminarily finds that the Settlement Agreement has been

reached as a result of intensive, arm’s-length negotiations of disputed claims, including through

the use and assistance of an experienced third-party neutral mediator, and that the proposed

Settlement is not the result of any collusion.

       9.      The Court approves the form and content of the Settlement Class Notice (Exhibit

C to the Settlement Agreement) and Claim Form (Exhibit A to the Settlement Agreement). The

Court further finds that the mailing of the Settlement Class Notice, in the manner set forth in the

Settlement Agreement, as well as the establishment of a settlement website, satisfy Rule 23, due

process, and constitutes the best notice practicable under the circumstances. The Notice Plan set

forth in the Settlement Agreement is reasonably calculated to apprise the Settlement Class of the

pendency of the Action, the class certification for settlement purposes only, the terms of the

Settlement and benefits afforded, the Settlement Class Members’ rights including the right to

opt-out of or object to the Settlement and the deadlines and procedures for doing so, the deadline,

procedures and requirements for submitting a Claim for Reimbursement pursuant to the

Settlement, Class Counsel’s application for Fees and Expenses and service awards for the named

Plaintiff-Settlement Class representatives, the time, place and right to appear at the Final

Fairness hearing, and other pertinent information about the Settlement and the Settlement Class

Members’ rights. The Court authorizes the Parties to make non-material modifications to the

                                                  3
  Case 2:18-cv-13377-MF Document 53 Filed 06/08/21 Page 4 of 10 PageID: 674




Settlement Class Notice and Claim Form prior to mailing if they jointly agree that any such

changes are appropriate.

       10.     The Court preliminarily appoints Angeion Group as the Settlement Claim

Administrator (“Claim Administrator”). The Claim Administrator is directed to perform all

settlement administration duties set forth in, and pursuant to the terms and time periods of, the

Settlement Agreement, including mailing of the CAFA Notice, implementing and maintaining

the Settlement website, disseminating the Class Notice to the Settlement Class, the processing,

review and determination of timely submitted and proper Claims for Reimbursement under the

Settlement, and the submission of any declarations and other materials to counsel and the Court,

as well as any other duties required under the settlement Agreement.

       11.     The Departments of Motor Vehicles within the United States and its territories are

ordered to provide approval to Polk/IHS Markit, or any other company so retained by the parties

and/or the Claim Administrator, to release the names and addresses of Settlement Class Members

in the Action associated with the titles of the Vehicle Identification Numbers at issue in the

Action for the purposes of disseminating the Settlement Class Notice to the Settlement Class

Members. Polk/IHS Markit is ordered to license, pursuant to agreement between Defendant(s)

and Polk/IHS Markit and/or the Claim Administrator and Polk/IHS Markit, the Settlement Class

Members’ contact information to Defendant(s) solely for the use of providing Settlement Class

Notice in the Action and for no other purpose.

       12.     Any Settlement Class Member who wishes to be excluded from the Settlement

Class must mail, by first-class mail postmarked no later than thirty (30) days after the date the

Class Notice is mailed (“Notice Date”), a written request for exclusion (“Request for Exclusion”)

to (a) the Claim Administrator at the address specified in the Class Notice; (b) Frederick J.

Klorczyk III, Bursor & Fisher, P.A., 888 Seventh Avenue, New York, NY 10019 on behalf of

Class Counsel; and (c) Michael B. Gallub, Esq., Herzfeld & Rubin, P.C., 125 Broad Street, New

York, NY 10004 on behalf of Defendants. To be effective, the Request for Exclusion must:



                                                 4
  Case 2:18-cv-13377-MF Document 53 Filed 06/08/21 Page 5 of 10 PageID: 675




             a. Include the Settlement Class Member’s full name, address and telephone number,

                and identify the model, model year and VIN of the Settlement Class Vehicle;

             b. State that he/she/it is or was a present or former owner or lessee of a Settlement

                Class Vehicle; and

             c. Specifically and unambiguously state his/her/their/its desire to be excluded from

                the Settlement Class.

       13.       Any Settlement Class Member who fails to submit a timely and complete

Request for Exclusion sent to the proper address, shall remain in the Settlement Class and shall

be subject to and bound by all determinations, orders and judgments in the Action concerning the

Settlement, including but not limited to the Release of claims set forth in the Settlement

Agreement.

       14.         Any Settlement Class Member who has not submitted a Request for Exclusion

may object to the fairness of the Settlement Agreement, the requested amount of Class Counsel

Fees and Expenses and/or Settlement Class representative service awards.

             a. To object, a Settlement Class Member must: (i) file the objection, together with

                any supporting briefs and/or documents, with the Court in person or via the

                Court’s electronic filing system within thirty (30) days of the Notice Date; and (ii)

                send via first-class mail, postmarked within thirty (30) days of the Notice Date,

                copies of any objection and supporting briefs and/or documents to: Frederick J.

                Klorczyk III, Bursor & Fisher, P.A., 888 Seventh Avenue, New York, NY 10019

                on behalf of Class Counsel; Michael B. Gallub, Esq., Herzfeld & Rubin, P.C., 125

                Broad Street, New York, NY 10004 on behalf of Defendants; and the Claim

                Administrator, Angeion Group, P.O. Box 58220, Philadelphia, PA 19102.

             b. Any objecting Settlement Class Member must include the following with

                his/her/their/its objection: (i) the objector’s full name, address, and telephone

                number; (ii) the model, model year and Vehicle Identification Number of the

                Settlement Class Vehicle, along with proof that the objector has owned or leased

                                                  5
Case 2:18-cv-13377-MF Document 53 Filed 06/08/21 Page 6 of 10 PageID: 676




         the Settlement Class Vehicle (i.e., a true copy of a vehicle title, registration, or

         license receipt); (iii) a written statement of all grounds for the objection

         accompanied by any legal support for such objection; (iv) copies of any papers,

         briefs, or other documents upon which the objection is based and are pertinent to

         the objection; (v) the name, address and telephone number of any counsel

         representing said objector; and (vi) a list of all other objections submitted by the

         objector, or the objector’s counsel, to any class action settlements submitted in

         any court in the United States in the previous five (5) years, including the full case

         name, the jurisdiction in which it was filed and the docket number. If the

         Settlement Class Member or his/her/its counsel has not objected to any other class

         action settlement in the United States in the previous five (5) years, he/she/they/it

         shall affirmatively so state in the objection.

      c. Subject to the approval of the Court, any Settlement Class Member who has

         properly filed a timely objection may appear, in person or by counsel, at the Final

         Fairness Hearing to explain why the proposed Settlement should not be approved

         as fair, reasonable and adequate, or to object to any motion for Class Counsel

         Fees and Expenses or Settlement Class representative service awards. In order to

         appear, the objecting Settlement Class Member must, by the objection deadline,

         file with the Clerk of the Court and serve upon all counsel designated in the Class

         Notice, a Notice of Intention to Appear at the Final Fairness Hearing. The Notice

         of Intention to Appear must include copies of any papers, exhibits or other

         evidence and the identity of all witnesses that the objecting Settlement Class

         Member (or the objecting Settlement Class Member’s counsel) intends to present

         to the Court in connection with the Final Fairness Hearing. Any Settlement Class

         Member who does not provide a Notice of Intention to Appear in accordance with

         the deadline and other requirements set forth in the Settlement Agreement and



                                            6
  Case 2:18-cv-13377-MF Document 53 Filed 06/08/21 Page 7 of 10 PageID: 677




                  Class Notice shall be deemed to have waived any right to appear, in person or by

                  counsel, at the Final Fairness Hearing.

               d. Any Settlement Class Member who has not properly filed a timely objection in

                  accordance with the deadline and requirements set forth in this Order and Class

                  Notice shall be deemed to have waived any objections to the Settlement and any

                  adjudication or review of the Settlement Agreement by appeal or otherwise.

         15.      In the event the Settlement is not approved by the Court, or for any reason the

parties fail to obtain a Final Order and Judgment as contemplated in the Settlement Agreement,

or the Settlement is terminated pursuant to its terms for any reason, then the following shall

apply:

               a. All orders and findings entered in connection with the Settlement shall become

                  null and void and have no further force and effect, shall not be used or referred to

                  for any purposes whatsoever, and shall not be admissible or discoverable in this or

                  any other proceeding, judicial or otherwise;

               b. All of the Parties’ respective pre-Settlement claims, defenses and procedural

                  rights, including but not limited to Defendants’ pending Motion to Dismiss, will

                  be preserved, and the parties will be restored to their positions status quo ante;

               c. Nothing contained in this Order is, or may be construed as, any admission or

                  concession by or against Defendants, Released Parties or Plaintiffs on any

                  allegation, claim, defense, or point of fact or law in connection with this Action;

               d. Neither the Settlement terms nor any publicly disseminated information regarding

                  the Settlement, including, without limitation, the Class Notice, court filings,

                  orders and public statements, may be used as evidence in this or any other

                  proceeding, judicial or otherwise; and

               e. The preliminary certification of the Settlement Class pursuant to this Order shall

                  be vacated automatically, and the Action shall proceed as though the Settlement

                  Class had never been preliminarily certified.

                                                    7
  Case 2:18-cv-13377-MF Document 53 Filed 06/08/21 Page 8 of 10 PageID: 678




          16.     Pending the Final Fairness Hearing and the Court’s decision whether to grant final

approval of the Settlement, no Settlement Class Member, either directly, representatively, or in

any other capacity (including those Settlement Class Members who filed Requests for Exclusion

from the Settlement which have not yet been reviewed and approved by the Court at the Final

Fairness Hearing), shall commence, prosecute, continue to prosecute or participate in, against

any of the Released Parties (as that term is defined in the Settlement Agreement), any action or

proceeding in any court or tribunal (judicial, administrative or otherwise) asserting any of the

matters, claims or causes of action that are to be released in the Settlement Agreement. Pursuant

to 28 U.S.C. § 1651(a) and 2283, the Court finds that issuance of this preliminary injunction is

necessary and appropriate in aid of the Court’s continuing jurisdiction and authority over the

Action.

          17.     Pending the Final Fairness Hearing and any further determination thereof, this

Court shall maintain continuing jurisdiction over these Settlement proceedings.
          18.     Based on the foregoing, the Court sets the following schedule, below, for the

Final Fairness Hearing and the actions which must precede it. If any deadline set forth in this

Order falls on a weekend or federal holiday, then such deadline shall extend to the next business

day. These deadlines may be extended by order of the Court, for good cause shown, without

further notice to the Class. Settlement Class Members must check the Settlement website

regularly for updates and further details regarding this Settlement:

                                                  Deadline Pursuant to       Date Ordered by
          Event                                   Settlement Agreement       Court

          Notice shall be provided in             Within 100 days of            September 7, 2021
          accordance with the Notice Plan and     Preliminary Approval
          this Order                              Order

          Class Counsel’s Fee and Expense         Within 114 days of
          Application and request for service     Preliminary Approval           September 21, 2021
          awards for Plaintiffs-Settlement        Order
          Class Representatives


                                                   8
Case 2:18-cv-13377-MF Document 53 Filed 06/08/21 Page 9 of 10 PageID: 679




   Objections to the Settlement, Class    Within 130 days of
   Counsel’s Fee and Expense              Preliminary Approval          October 7, 2021
   Application, and/or the request for    Order (30 days after the
   service awards                         Notice Date)

   Requests for Exclusion from the        Within 130 days of
   Settlement                             Preliminary Approval         October 7, 2021
                                          Order (30 days after the
                                          Notice Date)

   Plaintiffs’ Motion for Final           Within 150 days of
   Approval of the Settlement             Preliminary Approval         October 27, 2021
                                          Order

   Claim Administrator shall submit a     Within 150 days of
   declaration to the Court, Class        Preliminary Approval
   Counsel and Defense Counsel (i)        Order                       October 27, 2021
   reporting the names and addresses of
   all persons and entities that
   submitted timely and proper
   Requests for Exclusion; and (ii)
   attesting that Notice was
   disseminated in a manner consistent
   with the Settlement Agreement and
   this Preliminary Approval Order.

   Responses of Any Party to timely       Within 165 days of
   filed Objections to the Settlement     Preliminary Approval
                                                                       November 11, 2021
   and/or Fee and Expense Application,    Order
   and any Requests for Exclusion

   Any submissions by Defendants          Within 165 days of
   concerning Final Approval of           Preliminary Approval         November 11, 2021
   Settlement                             Order

                                                                     Date:
   Final Fairness Hearing will be held    Within 180 days of
   at Martin Luther King Building &       Preliminary Approval         November 26, 2021
   U.S. Courthouse, Courtroom PO 09,      Order (30 days after
   50 Walnut St., Newark, NJ 07102 or     filing of Motion for       Time:
   by video conference as determined      Final Approval of                  10:00 a.m.
   by the Court                           Settlement)




                                           9
 Case 2:18-cv-13377-MF Document 53 Filed 06/08/21 Page 10 of 10 PageID: 680




SO ORDERED:


Date:
                                          Honorable Mark Falk
June 8, 2021 _______
___________                               United States Magistrate Judge




                                     10
